Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 1 of 12 PageID #:
                                    50862
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 2 of 12 PageID #:
                                    50863
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 3 of 12 PageID #:
                                    50864
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 4 of 12 PageID #:
                                    50865
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 5 of 12 PageID #:
                                    50866
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 6 of 12 PageID #:
                                    50867
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 7 of 12 PageID #:
                                    50868
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 8 of 12 PageID #:
                                    50869
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 9 of 12 PageID #:
                                    50870
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 10 of 12 PageID #:
                                    50871
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 11 of 12 PageID #:
                                    50872
Case 4:20-cv-00957-SDJ   Document 752-4 Filed 01/06/25   Page 12 of 12 PageID #:
                                    50873
